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                   13                              UNITED STATES DISTRICT COURT

                   14                             NORTHERN DISTRICT OF CALIFORNIA

                   15                                      OAKLAND DIVISION

                   16

                   17   In re Google RTB Consumer Privacy              Master File No. 4:21-cv-02155-YGR-VKD
                        Litigation,
                   18                                                  GOOGLE LLC’S ADMINISTRATIVE
                                                                       MOTION SEEKING TO (1) FILE A SUR-
                   19                                                  REPLY TO PLAINTIFFS’ REPLY BRIEF ISO
                        This Document Relates to: all actions          CLASS CERTIFICATION AND (2) DEPOSE
                   20                                                  PLAINTIFFS’ REBUTTAL EXPERTS

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ATTORNEYS AT LAW                                                                   GOOGLE’S ADMIN MOTION SEEKING
 SAN FRANCISCO                                                                    SUR-REPLY AND EXPERT DEPOSITIONS
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                    1          Pursuant to Civil Local Rule 7-11, Defendant Google LLC (“Google”) respectfully seeks
                    2   leave of Court to file a sur-reply to Plaintiffs’ Reply In Support of the Motion for Class Certification
                    3   (“Reply Brief”) and accompanying expert rebuttal reports (“Rebuttal Reports”), and to conduct
                    4   depositions of Plaintiffs’ experts who submitted new opinions in the Rebuttal Reports.
                    5          First, the Court should allow Google to file a sur-reply to address new, previously-
                    6   undisclosed opinions from Christopher Wilson, Robert Zeithammer, Neil Richards, and Greg
                    7   Regan, who each submitted affirmative reports in support of Plaintiffs’ Class Certification Motion.
                    8   The Rebuttal Reports are improper for a host of reasons. Some Rebuttal Reports offer new analysis
                    9   and opinions that should have been, but were not included in that expert’s initial report, and other
                   10   Rebuttal Reports additionally claim expertise in new subject matters that were not previously
                   11   disclosed, such as survey methodology and back-end statistical analysis.
                   12          Second, fundamental fairness warrants granting Google the opportunity to seek further
                   13   depositions from three of these experts given their new opinions (which often contradict their prior
                   14   ones). Plaintiffs should not be able to insulate these new opinions from scrutiny and the Court
                   15   should be able to evaluate the class certification motion on a complete and vetted record.1
                   16   I.     THE COURT SHOULD GRANT GOOGLE LEAVE TO FILE A SUR-REPLY.
                   17          To address “the potential inequities that might flow from the injection of new matter at the
                   18   last round of briefing,” the Ninth Circuit has held that district courts have wide discretion to permit
                   19   a party to file a sur-reply. Dutta v. State Farm Mut. Auto. Ins. Co., 895 F.3d 1166, 1171–72 (9th
                   20   Cir. 2018). Courts have exercised this discretion when “new evidence is presented in a reply
                   21   motion,” because denying the chance to respond “would be unfair.” Provenz v. Miller, 102 F.3d
                   22   1478, 1483 (9th Cir. 1996) (holding district court erred by considering new reply evidence without
                   23   permitting plaintiff to respond); see Sherman v. Yahoo! Inc., 2015 WL 5604400, at *3 (S.D. Cal.
                   24   Sept. 23, 2015) (applying the rule from Provenz in the class certification context). Indeed, courts
                   25   have granted sur-replies when parties submit new expert declarations in support of reply briefing
                   26   on class certification where, as here, the expert proffers a new analysis or additional evidence. See,
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                          As set forth in the accompanying Declaration of Aarti Reddy (“Reddy Declaration”), Google
                   28   conferred with Plaintiffs and was unable to resolve these issues without seeking judicial
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                        intervention.
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                    1   e.g., Lane v. Wells Fargo Bank, N.A., 2013 WL 3187410, at *2 n.1 (N.D. Cal. June 21, 2013)
                    2   (granting sur-reply where “[a]long with their reply brief in support of class certification, plaintiffs’
                    3   counsel submitted new material—namely, a second expert declaration regarding damages”); Di
                    4   Donato v. Insys Therapeutics, Inc., 333 F.R.D. 427, 434 (D. Ariz. 2019) (allowing sur-reply in
                    5   connection with class certification where there was “new evidence and arguments presented in
                    6   Plaintiff’s reply brief”).
                    7           The Court should permit Google to file a sur-reply because Plaintiffs’ experts—Christopher
                    8   Wilson, Robert Zeithammer, Neil Richards, and Greg Regan—offer new opinions in the Reply
                    9   Reports that are (1) outside the proper scope of rebuttal opinions; (2) improper opinion testimony;
                   10   and (3) misleading and rely on incomplete citations to the factual record.
                   11           A.      The Reply Reports Are Outside the Scope of Proper Rebuttal Opinions.
                   12           “[A]n expert witness’s opening report must contain ‘a complete statement of all opinions
                   13   the witness will express and the basis and reasons for them’ together with ‘the facts or data
                   14   considered by the witness in forming them’ and ‘any exhibits that will be used to summarize or
                   15   support them.’” In re High-Tech Emp. Antitrust Litig., 2014 WL 1351040, at *3 (N.D. Cal. Apr. 4,
                   16   2014) (quoting Fed. R. Civ. P. 26(a)(2)(B)(i)–(iii)). “Plaintiffs [should] not be allowed to ‘sandbag’
                   17   Defendants with new analysis that should have been included” in an original report. Id. at 12.
                   18   Further, “[r]ebuttal testimony cannot be used to advance new arguments or new evidence.” Huawei
                   19   Techs., Co. Ltd v. Samsung Elecs. Co., Ltd., 340 F. Supp. 3d 934, 995 (N.D. Cal. 2018) (citation
                   20   omitted); see also Oracle Am., Inc. v. Google Inc., 2011 WL 5572835, at *4 (N.D. Cal. Nov. 15,
                   21   2011) (holding scheduling order “did not imply that an expert who offered no opening report on a
                   22   given issue could then attack the opposition reports served on that issue”).
                   23           Each of Plaintiffs’ experts offer opinions that are outside the scope of rebuttal testimony.
                   24   First, Dr. Wilson’s Rebuttal Report includes a new data analysis that he conducted, by his own
                   25   characterization, separately from and only “[a]fter addressing [Google’s expert’s] various
                   26   analytical and methodological failures,” effectively conceding the analysis is not a direct rebuttal
                   27   to Google’s expert’s opinions but rather new evidence. (ECF No. 616-6 (Wilson Rebuttal Rpt.) ¶
                   28   54 (emphasis added).) Furthermore, he used a completely new data set not contained in his opening
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                    1   report or Google’s expert’s report. (See ECF No. 546-4 (Wilson Opening Rpt.) at 15 n.14 (referring
                    2   to a different New York Times dataset).) Second, Dr. Zeithammer advances a new methodology
                    3   regarding how much internal bidders would bid in the RTB auction if external bidders reduce their
                    4   bids, (see ECF No. 616-7 (Zeithammer Rebuttal Rpt.) ¶¶ 107–09), even though he conceded during
                    5   deposition that his opening report failed to account for the interactions of internal bidders in the
                    6   RTB auction, (ECF No. 585-19 (Zeithammer Depo Tr.) at 86:3–15). He cannot now, through his
                    7   Rebuttal Report, belatedly account for internal bidders when he affirmatively elected not to in his
                    8   initial report. Google also should be afforded an opportunity to respond to Dr. Zeithammer’s
                    9   speculative inferences made only in his Rebuttal Report for which he has no evidentiary basis,
                   10   including his belief that “internal bidders likely share at least some user data with third parties,” or
                   11   that Google has conducted certain experiments that were not produced in this case. (Zeithammer
                   12   Rebuttal Rpt. ¶¶ 48–57.) Third, Prof. Richards, a legal scholar, critiques consumer survey
                   13   methodology in his Rebuttal Report, despite explicitly limiting his opening report and his general
                   14   expertise in this case to issues regarding “privacy” and “legal history” alone. (See ECF No. 616-9
                   15   (Richards Rebuttal Rpt.) ¶ 41; id. ¶ 17 (opining he “strive[s] to stay within the bounds of [his]
                   16   expertise” as “a trained historian, legal scholar and privacy expert”); see also ECF No. 615-2
                   17   (Richards Depo Tr.) at 42:19–22.) His analysis is thus a new opinion—one that contradicts his
                   18   prior testimony in which he conceded that he was “not trained at an expert level in the conduction
                   19   of – of large quantitative models and consumer surveys,” (ECF No. 585-8 (Richards Depo Tr.) at
                   20   50:16–20 (emphasis added)), had never conducted a survey assessing the privacy expectations of
                   21   individuals, (id. at 49:9–12), and his only familiarity with such tools were based on a “workshop in
                   22   empirical methods some years ago,” (id. at 49:9–14). Finally, Mr. Regan relies on entirely new
                   23   evidence to determine the proportion of RTB revenue attributable to Google account holders, which
                   24   is not contained in his opening report. (ECF No. 616-8 at ¶¶ 19-23 (Regan Rebuttal Rpt.).) Mr.
                   25   Regan fails to analyze this issue in his opening report and his rebuttal on this subject deprives
                   26   Google of any opportunity to respond.
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ATTORNEYS AT LAW                                                                             GOOGLE’S ADMIN MOTION SEEKING
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                    1   II.    THE COURT SHOULD PERMIT GOOGLE TO DEPOSE PLAINTIFFS’ EXPERTS ON NEW
                               OPINIONS THEY OFFER IN REBUTTAL REPORTS.
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                               Courts routinely allow for further discovery from an expert who submits new opinions on
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                        reply. See, e.g., In re Chicago Bridge & Iron Co. N.V. Secs. Litig., 2019 WL 6879321, at *1
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                        (S.D.N.Y. Dec. 16, 2019) (collecting cases). “[T]he second deposition should not be used to repeat
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                        the questions asked at the first deposition but should only cover new material addressed in the
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                        second report.” Id. As the court explained, such a decision “is based on the concepts of efficiency
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                        and fundamental fairness.” Id.; see In re Dynamic Random Access Memory (DRAM) Antitrust
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                        Litig., 2006 WL 3462580, at *1 (N.D. Cal. Nov. 29, 2006) (explaining it is “the fair result” to allow
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                        a second deposition of an expert where a rebuttal report “contains new conclusions”).
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                               Here, Google seeks to depose Dr. Zeithammer, Prof. Richards, and Prof. Wilson for a
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                        second time because each of them submits new opinions that are outside the scope of their opening
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                        report, amount to improper expert opinions, contradict their prior opinions in some respects, and
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                        provide a highly misleading narrative regarding the factual evidence in this case, as described
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                        above. See, e.g., Lavell v. Camden Cnty. College, 2023 WL 4074077, at *4–6 (D.N.J. June 20,
                   15
                        2023) (granting second deposition of expert who submitted rebuttal report that “generally neglects
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                        to challenge or counteract Defendant’s experts,” and instead offers a new “affirmative opinion,”
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                        and “presents new data, methodology, and conclusions,” including data and consideration of other
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                        factors that should have been included in the opening report). Google sought to depose these
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                        experts, but Plaintiffs declined and asserted that Google’s position was unsupported. (See Reddy
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                        Declaration, ¶¶ 2–5.) After submitting improper Rebuttal Reports with new expert opinions,
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                        Plaintiffs have refused to allow Google to test any of the new opinions they have proffered. The
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                        Court should deter such gamesmanship and grant Google additional depositions.
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                        III.   CONCLUSION
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                               For these reasons, the Court should grant Google’s administrative motion.2
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                   28     Google seeks to depose Plaintiffs’ experts identified above, each limited to four hours, and to file
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                        a twelve-page sur-reply within 21 days of the final deposition.
ATTORNEYS AT LAW                                                                           GOOGLE’S ADMIN MOTION SEEKING
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                    1   Dated: December 15, 2023                      COOLEY LLP
                    2

                    3                                                 By: /s/ Aarti Reddy
                                                                          Aarti Reddy
                    4
                                                                      Attorney for Defendant
                    5                                                 GOOGLE LLC
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 SAN FRANCISCO                                                    5                 SUR-REPLY AND EXPERT DEPOSITIONS
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